           Case 2:06-cr-00041-RSL      Document 960      Filed 01/23/08     Page 1 of 1




 1
 2
 3
 4
 5
 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE
 8   _______________________________________
                                            )
 9   UNITED STATES OF AMERICA,              )             No. CR06-0041RSL
                                            )
10                         Plaintiff,       )             ORDER DENYING DEFENDANT’S
                                            )             MOTION FOR RELEASE PENDING
11              v.                          )             DESIGNATION
                                            )
12   PAUL FOSTER,                           )
                                            )
13                         Defendant.       )
     _______________________________________)
14
15         This matter comes before the Court on “Defendant Paul Foster’s Motion for Release
16   Pending Designation” (Dkt. #958). The Court, having considered the motion, the government’s
17   opposition (Dkt. #959), and the records and files herein, hereby DENIES defendant’s motion.
18
19         DATED this 23rd day of January, 2008.
20
21
22
                                             A
                                             Robert S. Lasnik
23                                           United States District Judge

24
25
26   ORDER DENYING DEFENDANT’S
     MOTION FOR RELEASE PENDING
     DESIGNATION
